         Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 1 of 29



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------             x
                                                        :
MARIA VECCHIO, individually, and on
                                                        :
behalf of all others similarly-situated,
                                                        :
                                Plaintiff,              :   Civil Case No.:
                                                        :
                  - against -                           :
                                                        :   CLASS ACTION COMPLAINT
QUEST DIAGNOSTICS INC.,                                 :
EXAMONE WORLD WIDE, INC., and                           :
EXAMONE LLC,                                            :
                                                            JURY TRIAL DEMANDED
                                                        :
                                Defendants.             :
                                                        :

------------------------------------------             x
        Maria Vecchio (“Plaintiff”), by and through undersigned counsel, on behalf of herself and

on behalf of those similarly situated, brings this Fair Labor Standards Act collective action and Rule

23 class action against ExamOne World Wide, Inc. and ExamOne LLC (collectively, “ExamOne”)

and Quest Diagnostics Inc. (“Quest Diagnostics,” and, together with ExamOne, “Defendants”), and

alleges as follows:

                                   NATURE OF THE ACTION

        1.      Plaintiff is a Mobile Examiner who visits insurance customers at their homes or

places of business and conducts physical examinations and basic lab work for the purposes of

insurance eligibility and underwriting. Plaintiff is primarily compensated on a per-procedure basis.

Due to the duration of her appointments, the extensive amount of travel between appointments,

and the additional lab work and paperwork she must conduct at home, Plaintiff’s per hour

compensation is often below the state and federal minimum wage, sometimes significantly so.

Plaintiff routinely works more than ten hours per day and more than 40 hours per week, but does

not receive any overtime compensation or spread-of-hours pay.
         Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 2 of 29



        2.      Plaintiff brings this action as an opt-in collective action on behalf of herself and all

similarly situated individuals for violations of the federal Fair Labor Standards Act, 29 U.S.C. § 201 et

seq. (“FLSA”) and as an opt-out Rule 23 class action on behalf of herself and the proposed class to

remedy violations of New York state law, specifically New York Labor Law, Article 6, §§ 190 et seq.

and Article 19, §§ 650 et seq. (collectively the “NY Labor Law”).

        3.      Plaintiff alleges that Defendants regularly and routinely failed to pay minimum wage,

failed to pay overtime, failed to pay spread-of-hours pay, failed to reimburse for necessary business

expenses, and failed to accurately calculate hours worked. Plaintiff alleges upon information and

belief that the proposed collective and class members have the same or similar injuries resulting

from the same unitary course of conduct of the Defendants.

        4.      Plaintiff is one of thousands of New York and national employees who work or

worked for Defendants as Mobile Examiners and were not paid in accordance with federal law.

                                  JURISDICTION AND VENUE

        5.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331 because this action involves a federal question under the FLSA.

        6.      The Court has subject matter jurisdiction over the state law claims pursuant to 28

U.S.C. § 1332(d) because this is a class action with an amount in controversy in excess of $5,000,000,

exclusive of interest and costs, and at least one member from the class is a citizen of a state different

from at least one Defendant. Alternatively, the Court has supplemental jurisdiction over the state

law claims pursuant to 28 U.S.C. § 1367.

        7.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391 et seq. because (i) many

of the acts and transactions giving rise to this action occurred in this District; (ii) Defendants are

authorized to conduct business in this District and have intentionally availed themselves of the laws

and markets within this District through the promotion, marketing, distribution, and sale of its


                                                    2
         Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 3 of 29



services in this District; and (iii) Defendants currently do substantial business in this District.

                                                PARTIES

        8.      Plaintiff is a citizen of the State of New York and a resident of New York County,

residing at 367 Edgecombe Avenue Apt. 43, New York, NY 10031.

        9.      ExamOne World Wide, Inc. is a Pennsylvania corporation with its headquarters and

principal base of business in Kansas.

        10.     On information and belief, ExamOne World Wide, Inc. is licensed to and does in

fact conduct business throughout the United States, including in New York.

        11.     On information and belief, ExamOne World Wide, Inc. is a wholly owned subsidiary

of Quest Diagnostics.

        12.     On information and belief, ExamOne LLC is a Delaware corporation.

        13.     On information and belief, ExamOne LLC is a wholly owned subsidiary of

ExamOne World Wide, Inc.

        14.     Quest Diagnostics is a Delaware corporation with its headquarters and principal

place of business in New Jersey.

        15.     On information and belief, Quest Diagnostics is licensed to and does in fact conduct

business throughout the United States, including in New York.

        16.     At all times relevant to this Action, Defendants transacted business in this District.

                                      STATEMENT OF FACTS

Plaintiff’s Employment by Defendants

        17.     ExamOne, a Quest Diagnostics Company, is a leading provider of risk assessment

testing for life insurance companies.

        18.     On November 29, 2013, Plaintiff entered into an “Independent Contractor

Agreement” with ExamOne World Wide, Inc.


                                                     3
        Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 4 of 29



       19.     According to this agreement, Plaintiff was to be paid 38% of the portion of the fee

ExamOne bills to and collects from clients for the services she performed.

       20.     Pursuant to this agreement, Plaintiff began working for ExamOne as a Mobile

Examiner in January 2014.

       21.     In June 2014, Plaintiff was offered the opportunity to change her employment

status from an independent contractor to a W-2 employee.

       22.     Plaintiff received an offer letter from Quest Diagnostic Inc.’s Talent Acquisition

Center, dated June 26, 2014, offering part-time employment with ExamOne LLC as a Mobile

Examiner, with a July 11, 2014 start date.

       23.     The offer letter described her pay as follows:

       Your salary is based on fee schedule 7, payable on a biweekly basis. When you are not
       performing mobile exams, but are working in the office your base rate of pay will be $17.69
       per hour, payable on a biweekly basis.

       Your overtime rate of pay, if applicable, will be $26.54 per hour, payable on a biweekly basis.

       24.     Plaintiff accepted this offer on June 27, 2014.

       25.     Despite the change in formal designation from an independent contractor to an

employee, and the change of the named employer on her contracts from ExamOne World Wide,

Inc. to ExamOne LLC, Plaintiff’s job duties and responsibilities were identical.

       26.     When Plaintiff’s formal designation changed from independent contractor to

employee, her supervisor remained the same.

       27.     When Plaintiff’s formal designation changed from independent contractor to

employee, her job responsibilities and workflow remained the same.

       28.     When Plaintiff’s formal designation changed from independent contractor to

employee, the control that Defendants exercised over Plaintiff in the performance of her job

remained the same.


                                                  4
        Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 5 of 29



        29.    The only significant change when Plaintiff became designated an employee was in

her rate of compensation for provision of services.

Defendants’ Status as Employers

        30.    Plaintiff’s November 29, 2013 Independent Contractor Agreement was with

ExamOne World Wide, Inc.

        31.    ExamOne World Wide, Inc. was identified in the contract as a Pennsylvania

corporation.

        32.    ExamOne World Wide, Inc.’s address was identified in the contract as 10101 Renner

Boulevard, Lenexa, Kansas, 66219.

        33.    The June 26, 2014 offer letter was from Quest Diagnostics Inc. Talent Acquisition

Center at 10101 Renner Blvd, Lenexa, Kansas, 66219.

        34.    The offer letter indicated that ExamOne LLC offered Plaintiff a position as “Rep,

Mobile Examiner – P/T [part-time].”

        35.    On information and belief, ExamOne LLC is not authorized to do business in New

York.

        36.    Plaintiff was provided with a Welcome Packet of employment paperwork and

documentation. This packet was titled “Welcome to ExamOne Services LLC.”

        37.    On information and belief, ExamOne Services LLC is not authorized to do business

in New York.

        38.    On information and belief, ExamOne Services LLC is not a recognized legal entity in

the New York, Pennsylvania, Delaware, New Jersay, or Kansas.

        39.    Quest Diagnostics repeatedly held itself out as Plaintiff’s employer.

        40.    Plaintiff was provided with a Safety Manual.

        41.    This manual bore a large Quest Diagnostics logo at the top and was titled in large


                                                  5
        Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 6 of 29



letters “Environmental Health and Safety for New Employees.” (emphasis added).

       42.     This manual began with the language “Quest Diagnostics Incorporated believes that

workplace safety, the health of our employees, and protection of the environment are critical

business objectives.” (emphasis added).

       43.     Plaintiff was also provided with a document bearing the Quest logo and titled

“Invitation to Individuals with Disabilities and Covered Veterans to Self-Identify for Affirmative

Action Purposes.”

       44.     This document begins with the language “Quest Diagnostics, Inc. is a government

contractor and, as such, is required by the Rehabilitation Act of 1973 and the Vietnam Era Veterans

Readjustment Assistance Act of 1974 to take affirmative action to employ and advance in

employment qualified individuals with disabilities and covered veterans (see definitions on

reverse).” (emphasis added).

       45.     Plaintiff was required to sign several forms identifying her as a Quest Diagnostics

employee.

       46.     Plaintiff was required to sign the Environmental Health & Safety Pledge of

Commitment, which contained the following language:

       As a Quest Diagnostics employee, I hereby pledge to support and adhere to all company
       safety rules, regulations and policies. (italicized emphasis added).

       47.     Plaintiff was required to sign the IT Systems Access Agreement, which contained the

following language:

       All Quest Diagnostics employees have an obligation to comply with all confidentiality,
       privacy and security policies established by Quest Diagnostics and to use the information
       assets to which you have access for authorized company business only. (emphasis added).

       48.     Plaintiff was required to sign the Quest Diagnostics Integrity Commitment Pledge,

which contained the following language:

       Quest Diagnostics will provide an environment of strict compliance with the laws and

                                                   6
        Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 7 of 29



       regulations, not only as a legal obligation, but because it's the right thing to do.

       As an employee, I pledge to . . . (emphasis added).

       49.     Plaintiff was required to sign the Quest Diagnostics Code of Business Ethics Pledge,

which contained the following language:

       The Code of Business Ethics describes the standards of business conduct required of all
       Quest Diagnostics employees, executive officers and directors. Each employee, officer
       and director has a personal responsibility to ensure that his or her actions abide by the letter
       and the spirit of the Code. As an employee, I pledge to honor the key principles set forth
       below and to comply in all respects with the requirements of the Code. (emphasis added).

       50.     Plaintiff was required to sign the Employee Acknowledgement, which contained the

following language:

       My employment with Quest Diagnostics is based upon my agreement and
       representations as set forth below . . . (emphasis added).

       51.     Plaintiff was required to sign the New Employee Compliance Training

Acknowledgement, which contained the following language.

       This is to acknowledge that I have attended Compliance training as part of my New
       Employee Orientation Program at Quest Diagnostics and have received the
       following . . . (emphasis added).

       52.    Plaintiff was required to sign the Compliance Policy Training Certification, which

contained the following language:

       [I] [a]gree to strictly adhere to each compliance policy and procedure as a condition of my
       employment with Quest Diagnostics and that any violation of a compliance policy
       and/or procedure will result in Quest Diagnostics taking appropriate disciplinary action, up
       to and including termination. (emphasis added).

       53.     On August 28, 2015, Quest Diagnostics issued a disciplinary warning to Plaintiff.

       54.     This document bore the Quest Diagnostics logo, and indicated that the warning “will

remain permanently in your employee file for the duration of your employment with Quest

Diagnostics” and warned of potential consequences “up to and including termination of

employment with Quest Diagnostics.” (emphasis added).


                                                    7
         Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 8 of 29



        55.     Quest Diagnostics Incorporated, 3 Giralda Farms, Madison, NJ 07940, issued

Plaintiff’s paychecks.

        56.     Quest Diagnostics was responsible for human resources functions during Plaintiff’s

employment, including her initial hiring, the disciplinary process, and payroll.

        57.     Quest Diagnostics handled counseling and discipline relating to Plaintiff’s specific

duties and job performance and specifically referenced Plaintiff’s employment and potential

termination.

        58.     At all relevant times, ExamOne World Wide, Inc. and ExamOne LLC were the alter

egos of Quest Diagnostics.

        59.     Quest Diagnostics directed, ratified, permitted, consented to, or otherwise

authorized and adopted the alleged acts and/or omissions of, and any statements made by,

ExamOne, including but not limited to employing Plaintiff, establishing her manner and rate of pay,

and calculating and paying Plaintiff’s wages.

        60.     Each Defendant acted as an agent, servant, employee, or alter ego for each of the

other Defendants and in doing so, each Defendant acted within the course, scope, and under its

authority as an agent, servant, employee, or alter ego of every other Defendant. Each Defendant

ratified, permitted, consented to, or otherwise authorized and adopted the alleged acts and/or

omissions of, and any statements made by, the other Defendants.

        61.     Each Defendant is in some manner legally responsible for the acts and liabilities

alleged herein, and any harm or damages sustained by Plaintiff was and continues to be the direct,

proximate, and foreseeable result of the acts and/or omissions of Defendants, and each of them.

Plaintiff’s Job Responsibilities

        62.     Defendants provided Plaintiff with training for the position of Mobile Examiner.

        63.     Defendants provided Plaintiff with equipment, including a centrifuge, an iPad for


                                                   8
        Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 9 of 29



tracking appointments, and examination kits.

        64.     During the entire period of her employment by Defendants, Plaintiff’s duties have

included going to private appointments for clients who need tests or physical exams for insurance

underwriting purposes.

        65.     These appointments typically take place at clients’ private homes or offices.

        66.     The exams include tasks such as asking questions about client health, taking height

and weight measurements, and taking blood and urine samples.

        67.     Plaintiff’s schedule of appointments is provided by Defendants. Plaintiff provides

her hours of availability to Defendants in advance, and Defendants populates her schedule with

appointments.

        68.     Plaintiff’s work is assigned out of Defendants’ New York City office.

        69.     Plaintiff’s service territory consists of 21 zip codes covering substantially all of

Manhattan south of Central Park.

        70.     Plaintiff is required to travel to and from appointments and typically uses public

transportation to do so. But she is not reimbursed or compensated for her travel expenses.

        71.     Between travel and appointments, Plaintiff typically works for the entire workday

with very little downtime.

        72.     In addition to her client exams, Plaintiff is also responsible for completing

paperwork and conducting lab work at home.

        73.     This lab work includes putting blood samples collected from clients through a

centrifuge.

        74.     This paperwork and lab work is a required part of the job.

        75.     This additional work typically takes approximately an hour per day to complete.

        76.     In order to track her hours of work, Plaintiff is required to “clock in” and “clock


                                                    9
       Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 10 of 29



out” by calling an “800” number provided by Defendants.

       77.      According to instructions provided by Defendants, she is to call this number when

leaving home for her first appointment and upon returning home after her last appointment.

       78.      Plaintiff is instructed to clock out when she is conducting personal business between

scheduled appointments.

       79.      Plaintiff is instructed not to clock out when she is traveling directly from one

appointment to another.

       80.      Plaintiff is also instructed to clock in and out when performing paperwork or lab

work at home.

       81.      Although Plaintiff’s calls to the “800” number provide a record of her hours worked,

she is not compensated on an hourly basis, but is instead paid at a fixed per-procedure rate.

       82.      Periodically, Plaintiff is assigned to a scheduled shift instead of individual client

appointments.

       83.      On these days, Plaintiff is typically sent to a health fair or the workplace of a

corporate client, and she spends the entire day at one location administering exams.

       84.      On days where she works a scheduled shift, Plaintiff is paid at an hourly rate.

       85.      Plaintiff is instructed to clock in using the “800” number when she arrives at the

designated location and to clock out when she leaves.

       86.      Upon information and belief, all contractors and employees providing Mobile

Examiner services for Defendants have essentially the same structure to their workdays and pay.

       87.      Regardless of whether she was designated as an independent contractor or an

employee, Plaintiff’s work constituted an employment relationship for purposes of the FLSA and

NY Labor Law.

       88.      The work performed by Plaintiff was an integral part of the employer’s business.


                                                    10
         Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 11 of 29



Defendants contracted with insurance companies specifically to provide the services performed by

Plaintiff.

         89.   Plaintiff did not exercise managerial decision-making or independent business

judgment.

         90.   Plaintiff performed specified services according to a designated protocol, and her

schedule of appointments was entirely dictated by Defendants.

         91.   Plaintiff did not make independent capital investments in the business.

         92.   All specialized equipment used in Plaintiff’s work was supplied by Defendants.

         93.   Plaintiff did not exercise a significant degree of control over her work. Although

Plaintiff designated her hours of availability, her appointments within those hours were determined

entirely by Defendants.

Plaintiff’s Time Records

         94.   Because Plaintiff is required to clock in and out by calling an 800 number at the

beginning and end of each work period, her personal telephone records provide a record of the

number of hours she logged each day.

         95.   Plaintiff’s total pay for a two-week pay period divided by the number of hours she

logged is often less than state and federal minimum wage.

         96.   During the period from November 10, 2014, through February 12, 2016, Plaintiff’s

average hourly wage based on her logged hours was below the federal minimum wage of $7.25

during at least 3 two-week pay periods.

         97.   For example, during the pay period covering February 1, 2015 through February 14,

2015, according to Plaintiff’s phone records, she worked a total of 57 hours and 59 minutes. She was

paid a total of $416.92, which works out to $7.19 per hour.

         98.   During the period from November 10, 2014, through January 3, 2015, Plaintiff’s


                                                 11
        Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 12 of 29



average hourly wage based on her logged hours was below the then-in-effect New York state

minimum wage of $8.00 during at least 1 two-week pay period.

       99.     During the period from January 5, 2015, through December 30, 2015, Plaintiff’s

average hourly wage based on her logged hours was below the then-in-effect New York state

minimum wage of $8.75 during at least 9 two-week pay periods.

       100.    Plaintiff’s travel expenses are not reimbursed.

       101.    When these expenses are taken into account, her effective wage is even further

below minimum wage.

       102.    Plaintiff frequently logged over 40 hours in a week.

       103.    During the period from November 10, 2014, to February 12, 2016, plaintiff logged in

excess of 40 hours during at least 34 work weeks.

       104.    For example, during the week from December 1, 2014, through December 5, 2014,

Plaintiff’s phone records show that she worked over 47 hours.

       105.    Plaintiff was never paid overtime wages as required under federal and New York law.

       106.    Plaintiff frequently logged more than ten hours in a single day or logged multiple

shifts in a single day spanning more than ten hours.

       107.    For example, on November 11, 2014, according to Plaintiff’s phone records, she

worked 10 hours and 30 minutes.

       108.    Plaintiff never received spread-of-hours pay as required by New York law.

Defendants’ Time Records

       109.    Plaintiff is paid on a two-week pay cycle. Her paystubs indicate the total number of

hours worked in the two-week period, but do not provide a week-by-week breakdown.

       110.    Plaintiff’s paystubs do not indicate Plaintiff’s rate or rates of pay and basis thereof,

the regular hourly rate or rates of pay, the overtime rate or rates of pay, the number of regular hours


                                                  12
        Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 13 of 29



worked, the number of overtime hours worked, the applicable piece rate or rates of pay, or the

number of pieces completed at each piece rate, as required under the Wage Theft Prevention Act,

NY Labor Law § 195.

        111.    There are discrepancies between the number of hours logged by Plaintiff via the

phone calls and the number of hours shown on Plaintiff’s paystubs.

        112.    These discrepancies are sometimes very large, failing to credit Plaintiff with tens of

hours in a single pay period.

        113.    There are at least 11 pay periods during the period from November 10, 2014, to

February 12, 2016, in which the number of hours recorded by Defendants is 20 or more hours less

than the number logged by Plaintiff.

        114.    There are at least 4 pay periods during which the number of hours recorded by

Defendants is 40 or more hours less than the number logged by Plaintiff.

        115.    For example, during the pay period from December 7, 2014, through December 20,

2014, Plaintiff’s phone records show that she worked 85 hours and 38 minutes. Plaintiff’s paystub

shows that Defendants recorded only 44 hours and 24 minutes for this pay period, resulting in a

discrepancy of 41 hours and 14 minutes.

        116.    Plaintiff’s total pay for a two-week pay period divided by the number of hours she

logged is often less than state and federal minimum wage.

        117.    During the period from November 10, 2014, through February 12, 2016, Plaintiff’s

average hourly wage based on Defendants’ own time records was below the federal minimum wage

of $7.25 during at least 2 two-week pay periods.

        118.    For example, during the pay period covering March 1, 2015, through March 14,

2015, according to Defendants’ own time records, Plaintiff worked a total of 103 hours and 6

minutes. She was paid a total of $709.59, which works out to $6.88 per hour.


                                                   13
        Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 14 of 29



       119.    During the period from November 10, 2014, through January 3, 2015, Plaintiff’s

average hourly wage based on Defendants’ own time records was below the then-in-effect New

York state minimum wage of $8.00 during at least 1 two-week pay period.

       120.    During the period from January 5, 2015, through December 30, 2015, Plaintiff’s

average hourly wage based on Defendants’ own time records was below the then-in-effect New

York state minimum wage of $8.75 during at least 6 two-week pay periods.

       121.    Plaintiff’s travel expenses are not reimbursed. When these expenses are taken into

account, her effective wage is even further below minimum wage.

       122.    Because Plaintiff’s paystubs report hours in two-week intervals, it is impossible to

determine on the basis of the paystubs provided by Defendants whether Plaintiff is entitled to

overtime pay for any single week.

       123.    Regardless of the allocation of the hours between the two weeks, when Plaintiff

works more than 80 hours in a two-week pay period, she is entitled to overtime pay.

       124.    Even according to Defendants’ own time records as shown on the paystubs, Plaintiff

frequently worked in excess of 80 hours in a two-week period.

       125.    During the period from November 10, 2014, to February 12, 2016, Defendants’ time

records showed Plaintiff working in excess of 80 hours during at least 5 two-week pay periods. For

example, during the week from March 1, 2015, through March 14, 2015, Defendants’ own time

records show that Plaintiff worked over 103 hours.

       126.    Plaintiff was never paid overtime wages as required under federal and New York law.

                           COLLECTIVE ACTION ALLEGATIONS

       127.    Plaintiff brings Counts I and III of this action (the “FLSA claims”) on behalf of

herself and all other similarly situated individuals (the “Collective”) pursuant to the FLSA, 29 U.S.C.

§ 216(b). Plaintiff and the Collective were, or are, employed by Defendants as Mobile Examiners in


                                                  14
        Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 15 of 29



New York and the United States during the applicable statutory period.

        128.    Plaintiff and the Collective are current and former employees of Defendants within

the meaning of the FLSA and were employed by Defendants within three years of the date this

Complaint was filed. See 29 U.S.C. § 255(a).

        129.    The proposed Collective is defined as follows:

        All persons who were employed by Defendants as Mobile Examiners (or similar job
        position), whether designated as independent contractors or employees, at any time in the
        three years prior to the filing of this Complaint.

        130.    Excluded from the Collective are Defendants and their officers and directors.

        131.    Plaintiff reserves the right to amend or modify the Collective definition in

connection with a motion for collective action certification or as warranted by discovery.

        132.    This action has been brought and may properly be maintained on behalf of the

Collective proposed herein under the FLSA, 29 U.S.C. § 216(b).

        133.    Questions of law and fact common to the Collective as a whole include, but are not

limited to, the following:

            a. Whether Defendants failed and continue to fail to pay overtime compensation in
            violation of the FLSA, 29 U.S.C. § 201 et seq.;

            b. Whether Defendants’ policies and practices of their failure to pay overtime to
            Plaintiff and the Collective violate the applicable provisions of the FLSA;

            c. Whether Defendants’ failure to pay overtime to Plaintiff and the Collective was
            willful within the meaning of the FLSA;

            d. Whether Defendants failed and continue to fail to pay minimum wage in violation of
            the FLSA, 29 U.S.C. § 201 et seq.;

            e. Whether Defendants’ policies and practices of its failure to pay minimum wage to
            Plaintiff and the Collective violate the applicable provisions of the FLSA;

            f. Whether Defendants’ failure to pay minimum wage to Plaintiff and the Collective
            was willful within the meaning of the FLSA;

            g. Whether Defendants failed and continue to fail to reimburse employees for
            necessary travel expenses in violation of the FLSA; and

                                                  15
        Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 16 of 29



            h. Whether Defendants failed and continue to fail to make and maintain accurate
            records of actual time worked by Plaintiff and the Collective in violation of the FLSA, 29
            U.S.C. § 201 et seq.

        134.    The claim for violation of the FLSA is brought pursuant to 29 U.S.C. § 216(b) for all

claims asserted by Plaintiff on behalf of herself and the Collective, because Plaintiff’s claims are

similar to the claims of the members of the Collective.

        135.    Plaintiff and the Collective are similarly situated, have substantially similar contract

agreements and pay provisions, and are subject to Defendants’ common practice, policy, or plan of

failing to keep accurate records and failing to pay minimum wage and overtime in violation of the

FLSA.

        136.    Plaintiff will fairly and adequately represent and protect the interests of the members

of the Collective. Plaintiff has retained counsel competent and experienced in complex class actions,

FLSA, labor law, and employment law litigation.

        137.    The names and addresses of the Collective members are available from Defendants.

To the extent required by law, notice will be provided to the prospective Collective members via

first class mail and/or by use of techniques in a form of notice that has been used customarily in

collective actions, subject to court approval.

                                      CLASS ALLEGATIONS

        138.    Plaintiff brings Counts II, IV, V, and VI of this action (the “Class claims”) on behalf

of herself and all other similarly situated individuals (the “Class”) pursuant to Rule 23 of the Federal

Rules of Civil Procedure. Plaintiff and the Class were, or are, employed by Defendants as Mobile

Examiners in New York during the applicable statutory period.

        139.    Plaintiff and the Class are current and former employees of Defendants within the

meaning of the NY Labor Law and were employed by Defendants within six years of the date this

Complaint was filed.


                                                   16
        Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 17 of 29



        140.    The proposed Class is defined as follows:

        All persons who were employed in the State of New York by Defendants as Mobile
        Examiners (or similar job position), whether designated as independent contractors or
        employees, at any time in the six years prior to the filing of this Complaint.

        141.    Excluded from the Class are Defendants and their officers and directors.

        142.    Plaintiff reserves the right to amend or modify the Class definition in connection

with a motion for class action certification or as warranted by discovery.

        143.    This action has been brought and may properly be maintained on behalf of the Class

proposed herein under the criteria set forth in Federal Rule of Civil Procedure 23. The Class claims

satisfy the numerosity, commonality, predominance, typicality, adequacy, superiority, and

ascertainability requirements of the provisions of Rule 23.

        144.    Numerosity. Although the exact number and identity of Members of the Class are

uncertain and can only be ascertained through appropriate discovery, the number is great enough

that joinder would be impracticable. Upon information and belief, Defendants employ hundreds of

individuals as mobile examiners in New York State.

        145.    Commonality and predominance. There are questions of law and fact that are

common to the Class and predominate over any questions affecting only individual members of the

Class. The damages sustained by Plaintiff and the other members of the Class flow from the

common nucleus of operative facts surrounding Defendants’ misconduct.

        146.    Questions of law and fact common to the Class as a whole include, but are not

limited to, the following:

            a. Whether Defendants failed and continue to fail to pay overtime compensation in
            violation of the NY Labor Law;

            b. Whether Defendants’ policies and practices of its failure to pay overtime to Plaintiff
            and the Class violate the applicable provisions of the NY Labor Law;

            c. Whether Defendants’ failure to pay overtime to Plaintiff and the Class was willful
            within the meaning of the NY Labor Law;

                                                  17
        Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 18 of 29



            d. Whether Defendants failed and continue to fail to pay minimum wage in violation of
            the NY Labor Law;

            e. Whether Defendants’ policies and practices of its failure to pay minimum wage to
            Plaintiff and the Class violate the applicable provisions of the NY Labor Law;

            f. Whether Defendants’ failure to pay minimum wage to Plaintiff and the Class was
            willful within the meaning of the NY Labor Law;

            g. Whether Defendants failed and continue to fail to reimburse employees for
            necessary travel expenses in violation of the NY Labor Law;

            h. Whether Defendants failed and continue to fail to pay spread-of-hours in violation
            of NY Labor Law;

            i. Whether Defendants’ policies and practices of its failure to pay spread-of-hours to
            Plaintiff and the Class violate the applicable provisions of the NY Labor Law;

            j. Whether Defendants’ failure to pay spread-of-hours to Plaintiff and the Class was
            willful within the meaning of the NY Labor Law;

            k. Whether Defendants failed and continue to fail to provide a detailed statement
            concerning wage calculations as required by the NY Labor Law; and

            l. Whether Defendants failed and continue to fail to make and maintain accurate
            records of actual time worked by Plaintiff and the Class in violation of the NY Labor
            Law.

        147.    Any defenses raised by Defendants, to the extent that any such defenses apply, are

applicable generally to Plaintiff and the entire Class, and are not distinguishable as to individual class

members.

        148.    Typicality. The claims of the Plaintiff herein are typical of the claims of the members

of the Class as a whole, all of whom have sustained and/or will sustain damages, as a result of the

common course of conduct of Defendants as complained of in this class action complaint. The

claims of Plaintiff are typical of the Class because Defendants subjected all Class members to the

same course of conduct.

        149.    The claims for violation of the NY Labor Law are brought pursuant to Rule 23 for

all claims asserted by Plaintiff on behalf of herself and the Class, because Plaintiff’s claims are similar

to the claims of the members of the Class.
                                                    18
        Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 19 of 29



        150.    Plaintiff and the Class are similarly situated, have substantially similar contract

agreements and pay provisions, and are subject to Defendants’ common practice, policy, or plan of

failing to keep accurate records and failing to pay minimum wage, overtime, and spread-of-hours pay

in violation of the NY Labor Law.

        151.    Adequacy. Plaintiff will fairly and adequately represent and protect the interests of

the members of the Class. Plaintiff has retained attorneys highly experienced in the prosecution of

complex employment and labor law class action litigation. Neither Plaintiff nor her attorneys have

any interests antagonistic to the Class. Plaintiff and her counsel are committed to vigorously

prosecuting this action on behalf of the proposed Class and have the financial resources to do so.

        152.    Superiority. Plaintiff and Class members have all suffered and will continue to suffer

harm and damages as a result of Defendants’ unlawful and wrongful conduct. A class action is

superior to all other available methods for the fair and efficient adjudication of this lawsuit.

        153.    Individual litigation of the claims of all Class members is economically unfeasible and

procedurally impracticable. While the aggregate damages sustained by the Class may be in the

millions of dollars, the individual damages incurred by each Class member resulting from

Defendants’ wrongful conduct are too small to warrant the expense of individual suits. The

likelihood of individual Class members prosecuting separate claims is remote, and even if every Class

member could afford individual litigation, the court system would be unduly burdened by individual

litigation of such cases.

        154.    Individual Class members do not have a significant interest in individually controlling

the prosecution of separate actions, and the individualized litigation would also present the potential

for varying, inconsistent, or contradictory judgments and would magnify the delay and expense to all

parties and to the court system resulting from multiple trials of the same factual issues. Plaintiff

knows of no difficulty in the management of this action that would preclude its maintenance as a


                                                   19
        Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 20 of 29



class action. To the contrary, a class action in this matter will avoid case management difficulties and

provide multiple benefits, including efficiency, economy of scale, unitary adjudication with

consistent results, and equal protection of the rights of each Class member, all by way of the

comprehensive and efficient supervision of the litigation by a single court.

        155.       Ascertainability. The identity and address of each Class member can be readily

ascertained through Defendants’ records. Class members may be notified of the pendency of this

action via first class mail and/or by use of techniques in a form of notice that has been used

customarily in class actions, subject to court approval.

                                           COUNT I
                   Failure to Pay Minimum Wage Under the FLSA (29 U.S.C. § 206)

        156.       Plaintiff repeats and realleges all preceding paragraphs, as if fully set forth herein.

        157.       Section 6 of the FLSA, 29 U.S.C. § 206, establishes the right to be paid minimum

wages. Section 16(b) of the FLSA, 29 U.S.C. § 216(b), entitles an employee to recover all unpaid

wages, an equivalent amount as liquidated damages, and reasonable attorneys’ fees and costs.

        158.       At all times relevant to this action, Defendants willfully failed and refused to pay

Plaintiff the federal minimum wages required by the FLSA, to Plaintiff’s damage in amounts to be

proven at trial.

        159.       At all times relevant to this Complaint, the Defendants have been and continue to be

“employers” within the meaning of the FLSA 29 U.S.C. § 203(d).

        160.       At all times relevant to this Complaint, Defendants employed and continue to

employ Plaintiff and the Collective within the definition of the FLSA 29 U.S.C. § 203(e)(1).

        161.       At all times relevant to this Complaint, Defendants were enterprises “engaged in

commerce” as defined in 29 U.S.C. § 203(s)(1)(A)(ii), because they had gross operating revenues in

excess of $500,000.00.

        162.       Plaintiff has consented in writing to be a part of this action pursuant to 29 U.S.C.
                                                       20
        Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 21 of 29



§ 216(b). Plaintiff’s signed consent form is attached as Exhibit A.

       163.    Defendants have failed to make, keep, and preserve records with respect to each of

the Plaintiff and the Collective she seeks to represent, sufficient to determine the wages, hours, and

other conditions and practices of employment in violation of the FLSA, 29 U.S.C. §§ 201 et. seq.,

including 29 U.S.C. § 211(c) and § 215(a).

       164.    Defendants’ conduct as alleged herein constitutes a willful violation of the FLSA

within the meaning of 29 U.S.C. § 255(a).

       165.    Plaintiff on behalf of herself and the Collective she seeks to represent request

recovery of attorney’s fees and costs associated with this cause as provided by 29 U.S.C. § 216(b).

                                       COUNT II
                  Failure to Pay Minimum Wage under NY Labor Law § 652

       166.    Plaintiff repeats and realleges all preceding paragraphs as if fully set forth herein.

       167.    At all times relevant to this action, Defendants were Plaintiff’s employers within the

meaning of New York Labor Law §§ 2 and 651.

       168.    At all times relevant to this action, Plaintiff was Defendants’ employee within the

meaning of New York Labor Law §§ 2 and 651.

       169.    Defendants willfully required, suffered, or permitted Plaintiff to work for less than

the minimum wage in violation of the State Minimum Wage Act, New York Labor Law § 652.

       170.    As a result of Defendants’ New York Labor Law violations, Plaintiff and the Class

she seeks to represent are entitled to recover from Defendants amounts to be proven at trial for

unpaid minimum wages, liquidated damages equal to 100% of the total wages found to be due,

reasonable attorney’s fees, and the costs of the action, pursuant to New York Labor Law§ 663(1).




                                                   21
        Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 22 of 29



                                         COUNT III
                   Failure to Pay Overtime Under the FLSA (29 U.S.C. § 207)

        171.    Plaintiff repeats and realleges all preceding paragraphs, as if fully set forth herein.

        172.    The FLSA requires each covered employer such as Defendants to compensate all

non-exempt employees at a rate of not less than 1.5 times the regular rate of pay for work performed

in excess of 40 hours in a work week.

        173.    Plaintiff and the Collective are not exempt from the right to receive overtime pay

under the FLSA.

        174.    Plaintiff and the Collective are entitled to be paid overtime compensation for all

overtime hours worked.

        175.    At all times relevant to this Complaint, Defendants had a policy and practice of

failing and refusing to pay overtime to its employees for their hours worked in excess of 40 hours

per week.

        176.    As a result of Defendants’ failure to compensate its employees, including Plaintiff

and the Collective, at a rate not less than 1.5 times the regular rate of pay for work performed in

excess of 40 hours in a work week, Defendants violated and continue to violate the FLSA, 29 U.S.C.

§§ 201 et. seq., including 29 U.S.C. § 207(a)(1) and § 215(a).

        177.    Plaintiff on behalf of herself and the Collective that she seeks to represent is entitled

to damages in the amount of their respective unpaid overtime compensation, plus liquidated

damages as provided by the FLSA, 29 U.S.C. § 216(b), and other such legal and equitable relief as

the Court deems just and proper.

        178.    At all times relevant to this Complaint, the Defendants have been and continue to be

“employers” within the meaning of the FLSA 29 U.S.C. § 203(d).

        179.    At all times relevant to this Complaint, Defendants employed and continue to

employ Plaintiff and the Collective, within the definition of the FLSA 29 U.S.C. § 203(e)(1).
                                                    22
        Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 23 of 29



       180.     At all times relevant to this Complaint, Defendants were enterprises “engaged in

commerce” as defined in 29 U.S.C. § 203(s)(1)(A)(ii), because they had gross operating revenues in

excess of $500,000.00.

       181.     Plaintiff has consented in writing to be a part of this action pursuant to 29 U.S.C.

§ 216(b). Plaintiff’s signed consent form is attached as Exhibit A.

       182.     Defendants have failed to make, keep, and preserve records with respect to each of

the Plaintiffs and the Collective they seek to represent, sufficient to determine the wages, hours, and

other conditions and practices of employment in violation of the FLSA, 29 U.S.C. §§ 201 et. seq.,

including 29 U.S.C. § 211(c) and § 215(a).

       183.     Defendants’ conduct as alleged herein constitutes a willful violation of the FLSA

within the meaning of 29 U.S.C. § 255(a).

       184.     Plaintiff on behalf of herself and the Collective she seeks to represent request

recovery of their attorney’s fees and costs associated with this cause as provided by 29 U.S.C.

§ 216(b).

                                         COUNT IV
            Failure to Pay Overtime Under NY Labor Law § 652, 12 NYCRR § 142-2.2

       185.     Plaintiff repeats and realleges all preceding paragraphs, as if fully set forth herein.

       186.     At all times relevant to this action, Defendants were Plaintiff’s employers within the

meaning of New York Labor Law §§ 2 and 651.

       187.     At all times relevant to this action, Plaintiff was Defendants’ employee within the

meaning of New York Labor Law §§ 2 and 651.

       188.     Defendants willfully failed to pay Plaintiff overtime compensation at a rate of 1.5

times her regular rate of pay for each hour worked in excess of 40 hours in a workweek as required

under New York Labor Law §§ 650 et seq., 12 NYCRR § 146-1.4.

       189.     As a result of Defendants’ New York Labor Law violations, Plaintiff and the Class
                                                    23
          Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 24 of 29



she seeks to represent are entitled to recover from Defendants amounts to be proven at trial for

unpaid overtime wages, liquidated damages equal to 100% of the total wages found to be due,

reasonable attorney’s fees, and the costs of the action, pursuant to New York Labor Law § 663(1).

                                       COUNT V
      Failure to Pay Spread-of-Hours Under NY Labor Law § 652, 12 NYCRR § 142-2.2

          190.   Plaintiff repeats and realleges all preceding paragraphs, as if fully set forth herein.

          191.   Plaintiff routinely worked more than ten hours per day.

          192.   Defendants willfully failed to pay Plaintiff an extra hour of pay at the basic minimum

wage rate for each day Plaintiff had a spread of hours in excess of ten hours per day, in violation of

New York Labor Law §§ 650 et seq.

          193.   As a result of Defendants’ New York Labor Law violations, Plaintiff and the Class

she seeks to represent are entitled to recover from Defendants an amount to be proven at trial for

unpaid spread-of-hours pay, liquidated damages equal to 100% of the spread-of-hours pay found to

be due, reasonable attorney’s fees, and costs of the action, pursuant to New York Labor Law §

663(1).

                                          COUNT VI
                  Violation of Wage Theft Prevention Act, NY Labor Law § 195

          194.   Plaintiff repeats and realleges all preceding paragraphs, as if fully set forth herein.

          195.   Plaintiff’s paystubs do not identify Plaintiff’s rate or rates of pay and basis thereof,

the regular hourly rate or rates of pay, the overtime rate or rates of pay, the number of regular hours

worked, the number of overtime hours worked, the applicable piece rate or rates of pay, or the

number of pieces completed at each piece rate, as required under the Wage Theft Prevention Act,

NY Labor Law § 195.

          196.   Defendants willfully failed to provide this required information along with Plaintiff’s

paystubs.


                                                     24
           Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 25 of 29



         197.   The failure to provide adequate paystub information obstructed Plaintiff’s ability to

determine whether she was being paid in compliance with state and federal law.

         198.   As a result of Defendants’ violation of the Wage Theft Prevention Act, Plaintiff and

the members of the Class she seeks to represent are each entitled to recover $250 for each work day

that the violations occurred or continue to occur, not to exceed a total of $5,000, together with costs

and reasonable attorney’s fees.

                                     REQUEST FOR RELIEF

                WHEREFORE, Plaintiff respectfully requests relief against Defendants as set forth

below:

       a.        Designating this action as a collective action on behalf of Plaintiff and the Collective
she represents pursuant to the Fair Labor Standards Act claims, issuing notice pursuant to 29 U.S.C.
§ 216(b) to all similarly situated members of the FLSA opt-in Collective apprising them of the
pendency of this action, which will permit them to assert timely FLSA claims in this action by filing
individual consent to sue forms pursuant to 29 U.S.C. § 216(b), and equitably tolling the statute of
limitations from the date of filing this Complaint until the expiration of the deadline for filing
consent to sue forms pursuant to 29 U.S.C. § 216(b);

      b.        Designating Plaintiff MARIA VECCHIO as the representative for the Collective;

      c.       Determining that the Class claims alleged herein may be maintained as a class action
under Rule 23 of the Federal Rules of Civil Procedure and issuing an order certifying the Class as
defined above;

    d.         Appointing Plaintiff MARIA VECCHIO as the representative of the Class and her
Counsel as Class counsel;

      e.        Issuing notice to the Class of this action;

    f.         Awarding Plaintiff and the Class unpaid minimum wages and an additional equal
amount as liquidated damages, pursuant to NY Labor Law §§ 198(1-a), 663(1);

    g.         Awarding Plaintiff and the Collective unpaid minimum wages and an additional equal
amount as liquidated damages, pursuant to 29 U.S.C. § 216(b);

    h.         Awarding Plaintiff and the Class unpaid overtime wages and an additional equal
amount as liquidated damages, pursuant to NY Labor Law § 663(1);

     i.        Awarding Plaintiff and the Collective unpaid overtime wages and an additional equal
amount as liquidated damages pursuant to 29 U.S.C. § 216(b);

                                                   25
           Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 26 of 29




      j.      Awarding Plaintiff and the Class unpaid spread-of-hours pay, as well as an additional
equal amount as liquidated damages pursuant to NY Labor Law § 663(1);

     k.        Awarding Plaintiff and the Class damages for violations of the Wage Theft
Prevention Act, pursuant to NY Labor Law § 198(1-d);

    l.       Awarding Plaintiff pre-judgment and post-judgment interest, pursuant to New York
CPLR §§ 5001 and 5004;

     m.       Awarding Plaintiff the costs of this action together with reasonable attorney’s fees
pursuant to NY Labor Law §§ 198 and 663(1) and 29 U.S.C. § 216(b);

       n.        Awarding damages, including actual, general, special, incidental, statutory, punitive,
treble, liquidated, and consequential to Plaintiff and Class members in an amount to be determined
at trial;

      o.         Issuing a declaratory judgment that the practices complained of herein are unlawful
under the FLSA, 29 U.S.C. §§ 201 et seq., and the NY Labor Law, Article 6, §§ 190 et seq. and Article
19, §§ 650 et seq.;

      p.        Issuing an injunction prohibiting Defendants from continued unlawful practices,
policies and patterns set forth herein;

      q.        Awarding pre-judgment and post-judgment interest as provided by law;

      r.        Awarding reasonable attorneys’ fees and costs; and

      s.        Awarding such other and further relief that this Court deems appropriate.

                                     JURY TRIAL DEMANDED

        Plaintiff demands a trial by jury on all issues so triable.




                                                     26
       Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 27 of 29



Dated: June 29, 2016
                                           Respectfully submitted,

                                           NAPOLI SHKOLNIK PLLC

                                           /s/ Paul B. Maslo
                                           Paul B. Maslo
                                           Kardon Stolzman
                                           360 Lexington Avenue, 11th Floor
                                           New York, New York 10017
                                           Tel: (212) 397-1000
                                           Fax: (646) 843-7603
                                           Email: pmaslo@napolilaw.com
                                                   kstolzman@napolilaw.com




                                      27
Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 28 of 29




                        Exhibit A
Case 1:16-cv-05165-ER-JW Document 1 Filed 06/29/16 Page 29 of 29
